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                EXHIBIT B
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                          UNITED STATES COURT OF APPEALS
                              FOR THE SEVENTH CIRCUIT

CITY OF EAST ST. LOUIS,

                   Plaintiff-Appellant,
                                                  No. 22-2905
       v.
                                                  On Appeal from the U.S. District Court
NETFLIX, INC., ET AL.,                            for the Southern District of Illinois,
                                                  Case No. 21-cv-561-MAB
                   Defendants-Appellees.




                             AFFIDAVIT OF MELISSA K. SIMS

       I, MELISSA K. SIMS, declare under penalty of perjury as follows:

       1.      I am a partner with the law firm of Milberg Coleman Bryson Phillips Grossman,

LLP in New York.

       2.      I am counsel for Plaintiff-Appellant East St. Louis (“East St. Louis”) in the

above-captioned appeal.

       3.      The motion this affidavit supports is being made more than seven days before the

brief is due, as required by Circuit Rule 26.

       4.      Plaintiff-Appellant was approached by counsel for Defendants-Appellees

requested the filing of a joint motion and Plaintiff-Appellant consents thereto.

       5.      Plaintiff-Appellant counsel have various competing deadlines in other matters that

conflict with the current deadlines in this appeal, which occurred or will occur during October

24, 2022 and December 6, 2022 including below:




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  a. East St. Louis, Illinois v. Monsanto et al, No. 21-CV-00232, S.D.IL. Ongoing

     review of expert results and reports, subpoena, privilege log review, briefing,

     discovery analysis, motions and objections regarding discovery;

  b. Deposition, Kovusov v. Colonial Produce

  c. Milberg firm retreat

  d. Court Conference, Williams v. Halstead MD

  e. Deposition, Batko v. Landau, MD

  f. Co-Chair for Harris Martin's MDL Conference: Navigating Current Mass Tort

     Litigation

  g. Expert Deposition - Moran v. Vitek, M.D., et al. – Case No. C-18-CV-20-000273

     – Circuit Court for St. Mary’s County, Maryland

  h. Complaint Filing – Bayamon v. Exxon Mobil Corporation, et al. – Case No. 3:22-

     cv-01550 – US District Court, Puerto Rico

  i. Pretrial Conference – Montanez v. Bush, et al., Index No. 502324/14 – New York

     Supreme Court, Kings County

  j. Complaint Filing – Baltimore City v. Phillip Morris USA, Inc., et al. – Case

     Number TBD – Circuit Court for Baltimore City, Maryland

  k. Settlement Conference – Fletcher v. Town of Ocean City, MD, et al. – Case No.

     C-23-CV-21-000159 – Circuit Court for Worcester County, Maryland

  l. Amendment Complaint Filing – Eaton v. Luminis Health Anne Arundel Medical

     Center, Inc., et al. – Case No. 24-C-22-000027 - Circuit Court for Baltimore City,

     Maryland



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  m. Fact Witness Depositions – Moran v. Vitek, M.D., et al. – Case No. C-18-CV-20-

     000273 – Circuit Court for St. Mary’s County, Maryland

  n. New York Medical Malpractice Division Team Meetings – Garden City, New

     York – Counsel taking over leadership of approximately 32 medical malpractice

     cases filed or pending investigation in New York, so met with team located in

     New York to set up roles, policies, and procedures to handle moving the cases

     toward resolution

  o. Motions Hearing – Vazquez v. Kuczabski, M.D., et al. – Index No. 151130/2015

     – New York Supreme Court, County of Richmond

  p. Meet and Confer - Moran v. Vitek, M.D., et al. – Case No. C-18-CV-20-000273 –

     Circuit Court for St. Mary’s County, Maryland

  q. Defendant Deposition – Shinnamon v. Ng, M.D., et al. – Case No. 24-C-22-

     000533 – Circuit Court for Baltimore City, Maryland

  r. Meeting with Expert – City of East St. Louis, Illinois v. Monsanto, et al. – Case

     No. 3:21-cv-00232-DWD – US District Court, Southern District of IllinoisCourt

     Conference, Batko v. Landau, MD

  s. Briefing Dernoshek v. FirstService Residential Carolina, Inc. et al, 1:21-cv-00056

     (M.D.N.C.).

  t. Briefing Granite Land and Timber, LLC v Town of Clayton, Johnston County

     (NC) No. 20-CVS-2903

  u. Briefing Meritage Homes of the Carolinas, LLC v Town of Holly Springs, Wake

     County (NC) No. 20-CVS-14511



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       6.      This request for an extension is made in good faith and not for any improper

purpose.

       7.      This is the first request for an extension of time requested by either party.



Executed on November 22, 2022                 Respectfully submitted,

                                              /s/ MELISSA K. SIMS
                                              MELISSA K. SIMS




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